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UNITED STATES DISTRICT COURT _
SOUTHERN DISTRICT OF NEW YORK

 

- - - - &
UNITED STATES OF AMERICA
7" WV. on ORDER CONCERNING BAIL FUNDS
SAMUEL GENTLE, 16 Cr. 238 (CS)
Defendant.
eg

_.WHEREAS, on or about April 28, 2016,

defendant, posted $100,000 (the “Bail Funds”) in connection with

satisfying the conditions of release pending trial in this matter,

and the Bail Funds remain on deposit with the Clerk of Court

(receipt number 465407012955) ;

WHEREAS, on or about July 25, 2016, the defendant was

convicted following a trial by jury of all counts;

WHEREAS, on or about November 29,

2016, the defendant
was fined $125,000,

and was ordered to, among other things, pay
(i) $3,900 in mandatory special assessments,

and (ii) $295,495
in restitution;

WHEREAS, on or about January 7, 2017, the defendant

paid $3,900 in special assessments;

WHEREAS, on or about May 9, 2018,

the Second Circuit

vacated the defendant's sentence and remanded to the district

court because, in light of the Supreme Court decision in

SAMUEL GENTLE, the

 
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Marinello v. United States, 138 S.Ct. 1101 (2018), the
defendant’s conviction on Count One could not stand;

WHEREAS, on or about July 19, 2018, the Court
dismissed Count One and the defendant was fined $125,000, and
was ordered to, among other things, pay (1) $3,800 in mandatory
special assessments, and (ii) $59,488 in restitution;

WHEREAS, the Court ordered that the defendant pay the
special assessments and fine immediately;

WHEREAS, the sum of $124,725 remains unpaid;

WHEREAS, the Government has moved pursuant to Title
28, United States Code, Section 2044 that the Bail Funds be
applied toward the payment of this sum;

WHEREAS, the defendant has failed to supply evidence
supporting his claim that the Bail Funds are not his but the
property of a corporation owned by himself and three family
members; and

WHEREAS, that claim contradicts his sworn trial
testimony and the information he supplied to the Probation
Office in connection with his Presentence Report,

IT IS HEREBY ORDERED that, essentially for the reasons
stated by the Government:

i. In accordance with Title 28, United States Code,

Section 2044, the Clerk of the Court shall transfer $100,000.00

 
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in United States currency from the Bail Funds, in partial
satisfaction of the defendant’s outstanding fine obligation.
2. The Clerk of the Court shall forward three
certified copies of this Order to Assistant United States
Attorney Alexander Wilson, Chief of the Money Laundering and
Asset Forfeiture Unit, One St. Andrew’s Plaza, New York, New

York, 10007.

 

SO ORDERED:
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HONORABLE CATHY SEIBEL DATE

United States District Judge
